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                            EXHIBIT 27
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                                                                          Filed 03/25/2024



 ECLIPSE LIQUIDITY, INC.                     IN THE SUPERIOR COURT OF
                                                   PENNSYLVANIA

             V.                              Philadelphia County Civil
                                             Division
                                             200300816
GEDEN HOLDINGS, LTD, ADVANTAGE
TANKERS, LLC, AND ADVANTAGE
AWARD SHIPPING, LLC
                                              No. 587 EDA 2024

APPEAL OF: REUBEN BALZAN,
COURT-APPOINTED LIQUIDATOR FOR
GEDEN HOLDINGS, LTD.



                                   ORDER

      Appellant, Reuben Balzan, court- appointed liquidator for Geden
Holdings, Ltd., one of the defendants below, appeals from the January 24,
2024 order that granted summary judgment in favor of Appellant as well as
the other defendants below and dismissed the action against them for lack of
subject matter jurisdiction.

       "Except where the right of appeal is enlarged by statute," only a Alparty
who is aggrieved by an appealable order . . . may appeal therefrom."
Pa.R.A.P. 501. " A party is aggrieved' when the party has been adversely
affected by the decision from which the appeal is taken." In re Interest of
K.C., 156 A.3d 1179, 1182 ( Pa. Super. 2017). " A prevailing party is not
 aggrieved' and[,] therefore, does not have standing to appeal an order that
has been entered in his or her favor." Epstein v. Saul Ewing, LLP, 7 A.3d
303, 314 ( Pa. Super. 2010). Here, the order entered summary judgment in
favor of Appellant and the other defendants below. As such, Appellant is a
prevailing party and, therefore, lacks standing to appeal the order entered in
its favor.

      Accordingly, Appellant is DIRECTED to show cause, in a response filed
of record in this Court with a copy to opposing counsel, as to why the appeal
should not be quashed. The response shall be filed within fourteen ( 14)
days of the date of this Order. Failure to comply with this Order may result
in quashal of the appeal without further notice.

                                                                  PER CURIAM
